              MINUTES OF THE UNITED STATES DISTRICT COURT
                           DISTRICT OF ALASKA

U.S.A. vs. KALEB L. BASEY CASE NO. 4:14-cr-00028-RRB-SAO
Defendant: X Present X In Custody

BEFORE THE HONORABLE:           SCOTT A. ORAVEC

DEPUTY CLERK/RECORDER:          CONSTANCE LEDLOW

OFFICIAL REPORTER:              NONE PRESENT

UNITED STATES’ ATTORNEY:        KYLE FREDERICK REARDON (TELEPHONIC)

DEFENDANT'S ATTORNEY:           M. J. HADEN, APPOINTED (TELEPHONIC)

U.S.P.O.:                       MARCI LUNDGREN

PROCEEDINGS: ARRAIGNMENT ON INDICTMENT [2]
             HELD DECEMBER 19, 2014:
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
At 1:03 p.m. court convened.

 X Copy of Indictment given to defendant: read.

 X Defendant advised of general rights, charges and penalties.

 X Financial Affidavit FILED.

 X Federal Public Defender accepted appointment; FPD notified.

 X PLEAS: Not Guilty to counts 1, 2, 3, and 4 of the Indictment.

 X Defendant’s detention continued.

 X Order of Detention Pending Trial FILED.

 X Order for the Progression of a Criminal Case with Trial Date
FILED.

       X Discovery Conference Date: December 29, 2014


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DATE: December 19, 2014          DEPUTY CLERK'S INITIALS:         CBL
Revised 5-29-14




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                    U.S.A. vs. KALEB L. BASEY
                  ARRAIGNMENT ON INDICTMENT [2]
                        DECEMBER 19, 2014
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       X Notify Court of Discovery Problems: January 5, 2015

       X Pretrial Motions Due: January 20, 2015

      X Counsel advised of trial date:         February 9, 2015 at 8:30
a.m. before Judge Beistline.

      X Counsel advised of FPTC date: February 5, 2015 at 9:15
a.m. before Judge Beistline.

At 1:18 p.m. court adjourned.




DATE: December 19, 2014          DEPUTY CLERK'S INITIALS:         CBL
Revised 5-29-14




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